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 1   LAW OFFICE OF
     GARO B. GHAZARIAN
 2   State Bar No. 152790
     15915 Ventura Blvd., Suite 203
 3   Encino, California 91436
     Tel: (818)905-6484
 4   Fax: (818)905-6481
 5
     Attorney for Defendant
 6   YURIK SHAKHBAZYAN

 7
 8                       UNITED STATES DISTRICT COURT

 9                 FOR THE EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,     )         No. CR 05-0343 FCD
11                  Plaintiff,     )
                                   )         STIPULATION AND ORDER
12        v.                       )         TO CONTINUE SENTENCING
13                                 )
     YURIK SHAKHBAZYAN, et al.     )
14                  Defendants.    )         CURRENT DATE: 7/14/08
     ______________________________)         PROPOSED DATE: 8/25/08
15
16        Defendants YURIK SHAKHBAZYAN and ROZA GASPARIAN, by and
17
     through their respective attorneys of record, GARO B. GHAZARIAN
18
     and MARK J. WERKSMAN, and plaintiff, UNITED STATES OF AMERICA,
19
20   by and through Assistant United States Attorney R. STEVEN

21   LAPHAM, hereby seek and stipulate to a continuance of the
22   sentencing date.
23
          THE PARTIES HEREBY STIPULATE AND AGREE AS FOLLOWS:
24
          1.   The sentencing hearing date in the above-reference
25
     matter is currently scheduled for July 14, 2008, at 10:00 a.m.
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 1        2.   The parties stipulate and seek to continue the
 2   sentencing date from July 14, 2008 at 10:00 a.m., to August 25,
 3
     2008, at 10:00 a.m.
 4
          3.   The continuance is requested so that defendants
 5
 6   SHAKHBAZYAN and GASPARIAN may be sentenced with their co-

 7   defendant SHUBARALYAN who is scheduled to be sentenced on
 8   August 25, 2008, at 10:00 a.m.
 9
          4.    The government does not object to the continuance.
10
11
          IT IS SO STIPULATED.
12
                                       Respectfully submitted,
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14
     Dated: June 10, 2008              ______/S/ Garo Ghazarian_____
15                                     GARO B. GHAZARIAN
                                       Attorney for Defendant
16                                     YURIK SHAKHBAZYAN
17
18
     Dated: June 10, 2008              __/s/ Mark Werksman __________
19                                     MARK J. WERKSMAN
                                       Attorney for Defendant
20                                     ROSA GARSPARIAN
21
22
     Dated: June 17, 2008              McGregor W. Scott
23                                     United States Attorney

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25
                                       __/s/ R. Steven Lapham________
26                                     R. STEVEN LAPHAM
                                       Assistant United States Attorney
27                                     Attorney for Plaintiff
                                       United States of America
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 1                                  O R D E R
 2
 3        GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED THAT
 4   the sentencing date for defendants YURIK SHAKHBAZYAN and ROSA
 5   GASPARIAN, in the matter of United States v. Shakhbazyan, et
 6   al., Case No. 05-CR-343 FCD, currently scheduled on July 14,
 7   2008, at 10:00 a.m., shall be continued to August 25, 2008, at
 8   10:00 a.m.
 9
10   Dated: June 20, 2008
                                      _______________________________________
11                                    FRANK C. DAMRELL, JR.
                                      UNITED STATES DISTRICT JUDGE
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